          Case 1:21-cr-00158-RC Document 24 Filed 05/06/21 Page 1 of 5




                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                      May 6, 2021

Greg Hunter, Esq
BY EMAIL

       Re:      United States v. Kyle Fitzsimons
                Case No. 21-cr-158

Dear Counsel:

        Enclosed as discovery in this case is discovery production via USAFX that contains
materials as described in the attached index. Please note that discovery in this case is ongoing,
with additional materials forthcoming. Additionally, we have produced evidence seized from
your client’s cell phone pursuant to a search warrant. If you would like a forensic copy of the
entire cell phone, please let me know.

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1. This
material is subject to the terms of the Protective Order issued in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

       I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
          Case 1:21-cr-00158-RC Document 24 Filed 05/06/21 Page 2 of 5




or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,



                                                     Brandon K. Regan
                                                     Assistant United States Attorney
Enclosure(s)
cc:




                                                 2
                                        Case 1:21-cr-00158-RC Document 24 Filed 05/06/21 Page 3 of 5


    VOLUME       SENSITIVE   HIGHLY SENSITIVE      BEGINBATES         ENDBATES      PAGECOUNT                                      DESCRIPTION
                                                                                                (U) Assault on Law Enforcement on Capitol Grounds.Capitol Police MPD; Subject ‐
Fitzsimmons_01                                  CAP02_000008574   CAP02_000008575       2       KYLE FITZSIMONS
                                                                                                U//FOUO NTOC2021 21chh02 Individual Reporting the Identity of NCDPS
Fitzsimmons_01                                  CAP02_000008576   CAP02_000008579       4       Probation Officer Allen D Hux of Columbu
                                                                                                U//FOUO NTOC2021 21chh02 Individual Reporting the Identity of NCDPS
Fitzsimmons_01                                  CAP02_000008580   CAP02_000008584       5       Probation Officer Allen D Hux of Columbu
Fitzsimmons_01                                  CAP02_000008585   CAP02_000008585       1       U//FOUO 1_9350560‐tip.json
Fitzsimmons_01                                  CAP02_000008586   CAP02_000008591       6       U//FOUO SAR_Import.txt
Fitzsimmons_01                                  CAP02_000008592   CAP02_000008596       5       (U) 707520_WF.pdf
Fitzsimmons_01                                  CAP02_000008597   CAP02_000008597       1       (U) Kyle Fitzsimons Driver's License and NCIC
Fitzsimmons_01                                  CAP02_000008598   CAP02_000008599       2       (U) Fitzsimons NCIC DL Photo.zip
Fitzsimmons_01                                  CAP02_000008600   CAP02_000008604      5        (U) Fitzsimons NCIC DL Photo.zip
Fitzsimmons_01                                  CAP02_000008605   CAP02_000008606       2       (U) Fitzsimons NCIC DL Photo.zip
Fitzsimmons_01                                  CAP02_000008607   CAP02_000008611       5       (U) Fitzsimons NCIC DL Photo.zip
Fitzsimmons_01                                  CAP02_000008612   CAP02_000008612       1       (U) Preservation Letter to Google re: kylefitzsimons.kf@gmail.com
Fitzsimmons_01                                  CAP02_000008613   CAP02_000008614      2        (U) Google Preservation Letter Fitzsimons.pdf
Fitzsimmons_01                                  CAP02_000008615   CAP02_000008616       2       (U) Google Preservation Letter Fitzsimons.pdf
Fitzsimmons_01                                  CAP02_000008617   CAP02_000008618       2       (U) CD Containing YouTube Town Hall Meeting 1/21/2021
Fitzsimmons_01                                  CAP02_000008619   CAP02_000008619       1       (U) Youtube Video ReadMe.docx
Fitzsimmons_01                                  CAP02_000008620   CAP02_000008620      1        (U) Portland, ME Suspicious Package News Article
Fitzsimmons_01                                  CAP02_000008621   CAP02_000008630      10       (U) Portland Suspicious Package.pdf
Fitzsimmons_01                                  CAP02_000008631   CAP02_000008640      10       (U) Portland Suspicious Package.pdf
Fitzsimmons_01                                  CAP02_000008641   CAP02_000008642       2       (U) Observations and Records Check on 1/27/21
Fitzsimmons_01                                  CAP02_000008643   CAP02_000008643       1       (U) 1.jpg
Fitzsimmons_01                                  CAP02_000008644   CAP02_000008644      1        (U) 35_Gully_Oven_Open_Source.PNG
Fitzsimmons_01                                  CAP02_000008645   CAP02_000008645       1       (U) 3.jpg
Fitzsimmons_01                                  CAP02_000008646   CAP02_000008646       1       (U) 2.jpg
Fitzsimmons_01                      X           CAP02_000008647   CAP02_000008648       2       (U) US Capitol CCTV 0074 USCH BA Lower W Terrace Exterior Door
Fitzsimmons_01                                  CAP02_000008649   CAP02_000008650      2        (U) Surveillance of 35 Gully Oven Road, Lebanon, Maine
Fitzsimmons_01                                  CAP02_000008651   CAP02_000008651       1       (U) 2‐1‐21 Lebanon Surv.pdf
Fitzsimmons_01                                  CAP02_000008652   CAP02_000008652       1       (U) 02012021 Surv for WF‐3377667.pdf
Fitzsimmons_01                                  CAP02_000008653   CAP02_000008653       1       (U) Physical Surveillance of 33 Gully Oven Road, Lebanon, Maine
Fitzsimmons_01                                  CAP02_000008654   CAP02_000008654      1        (U) ME‐ 946AVP.pdf
Fitzsimmons_01                                  CAP02_000008655   CAP02_000008655       1       (U) ME‐ 9172YG.pdf
Fitzsimmons_01                                  CAP02_000008656   CAP02_000008656       1       (U) SUR Log Notes 01292021.pdf
Fitzsimmons_01                                  CAP02_000008657   CAP02_000008659       3       (U) Surveillance of 35 Gully Oven Road, Lebanon, Maine
Fitzsimmons_01                                  CAP02_000008660   CAP02_000008660      1        (U) ME‐ 9172YG.pdf
Fitzsimmons_01                                  CAP02_000008661   CAP02_000008661       1       (U) ME‐ 946AVP.pdf
Fitzsimmons_01                                  CAP02_000008662   CAP02_000008662       1       (U) SUR Log Notes 01292021.pdf
Fitzsimmons_01                                  CAP02_000008663   CAP02_000008664      2        (U//FOUO) Surveillence ‐ 35 Gully Oven Road, Lebanon, ME
Fitzsimmons_01                                  CAP02_000008665   CAP02_000008666       2       (U//FOUO) Surveillence ‐ 35 Gully Oven Road, Lebanon, ME
Fitzsimmons_01                                  CAP02_000008667   CAP02_000008667       1       (U) Information from Hannaford Brothers Co.
Fitzsimmons_01                                  CAP02_000008668   CAP02_000008668       1       (U) Surveillance ‐ 35 Gully Oven Road, Lebanon, Maine
                                      Case 1:21-cr-00158-RC Document 24 Filed 05/06/21 Page 4 of 5


      VOLUME     SENSITIVE   HIGHLY SENSITIVE      BEGINBATES         ENDBATES      PAGECOUNT                                      DESCRIPTION
Fitzsimmons_01                                  CAP02_000008669   CAP02_000008669       1       (U) Spot check of 35 Gully Oven Road on 2/2/21
Fitzsimmons_01                                  CAP02_000008670   CAP02_000008670       1       (U) Arrest Warrant for Kyle Fitzsimons
Fitzsimmons_01                                  CAP02_000008671   CAP02_000008672       2       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008673   CAP02_000008673       1       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008674   CAP02_000008674       1       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008675   CAP02_000008675       1       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008676   CAP02_000008684       9       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008685   CAP02_000008686       2       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008687   CAP02_000008687       1       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008688   CAP02_000008688       1       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008689   CAP02_000008689       1       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008690   CAP02_000008698       9       (U) Arrest Warrant and Complaint‐Fitzsimons.zip
Fitzsimmons_01                                  CAP02_000008699   CAP02_000008700       2       (U) Arrest and Transport of Kyle FITZSIMONS on February 4, 2021
Fitzsimmons_01                                  CAP02_000008701   CAP02_000008701       1       (U) 20210204_152720.jpg
Fitzsimmons_01                                  CAP02_000008702   CAP02_000008702       1       (U) 20210204_152714.jpg
Fitzsimmons_01                                  CAP02_000008703   CAP02_000008711       9       (U) E2021035000000128673.pdf
Fitzsimmons_01                                  CAP02_000008712   CAP02_000008712       1       (U) 20210204_152709.jpg
Fitzsimmons_01                                  CAP02_000008713   CAP02_000008715       3       (U) SDETECTIVES21020417410.pdf
                                                                                                (U) Executed search warrant, application, and affidavit for the search of a motor
Fitzsimmons_01                                  CAP02_000008716   CAP02_000008716       1       vehicle.
                                                                                                (U) Executed search warrant, application, and affidavit for the search of a motor
Fitzsimmons_01                                  CAP02_000008717   CAP02_000008784      68       vehicle.
Fitzsimmons_01                                  CAP02_000008785   CAP02_000008852      68       (U) SW Packet 29‐JHR.pdf
                                                                                                (U) Executed search warrant, application, and affidavit for the search of Kyle
Fitzsimmons_01                                  CAP02_000008853   CAP02_000008853       1       FITZSIMONS.
                                                                                                (U) Executed search warrant, application, and affidavit for the search of Kyle
Fitzsimmons_01                                  CAP02_000008854   CAP02_000008915      62       FITZSIMONS.
Fitzsimmons_01                                  CAP02_000008916   CAP02_000008977      62       (U) Packet 24‐JHR123430.pdf
                                                                                                (U) Executed search warrant, application, and affidavit for the search of 35 Gully
Fitzsimmons_01                                  CAP02_000008978   CAP02_000008978       1       Oven Road.
                                                                                                (U) Executed search warrant, application, and affidavit for the search of 35 Gully
Fitzsimmons_01                                  CAP02_000008979   CAP02_000009042      64       Oven Road.
Fitzsimmons_01                                  CAP02_000009043   CAP02_000009106      64       (U) Packet 23‐JHR130322.pdf
Fitzsimmons_01                                  CAP02_000009107   CAP02_000009107      1        (U) Request Arrest Warrant Removal from NCIC
Fitzsimmons_01                                  CAP02_000009108   CAP02_000009108      1        (U) Fingerprint submission response (Fitzsimons)
Fitzsimmons_01                                  CAP02_000009109   CAP02_000009111      3        (U) Fingerprint submission response (Fitzsimons)
Fitzsimmons_01                                  CAP02_000009112   CAP02_000009114      3        (U) E2021035000000111059.pdf
Fitzsimmons_01                                  CAP02_000009115   CAP02_000009116      2        (U) Evidence Collection from 35 Gully Oven Rd. Lebanon, ME
Fitzsimmons_01                                  CAP02_000009117   CAP02_000009119      3        (U) Evidence Collection on 2/4/21 from 35 Gully Oven Rd.
Fitzsimmons_01                                  CAP02_000009120   CAP02_000009120      1        (U) Warrant Removal
Fitzsimmons_01                                  CAP02_000009121   CAP02_000009124      4        (U) Kyle Fitzsimons Removal.pdf
Fitzsimmons_01                                  CAP02_000009125   CAP02_000009125      1        (U) Search of Electronic Evidence Seized on 2/4/21
Fitzsimmons_01                                  CAP02_000009126   CAP02_000009129      4        (U) Inventory Tracking122922.pdf
                                      Case 1:21-cr-00158-RC Document 24 Filed 05/06/21 Page 5 of 5


      VOLUME     SENSITIVE   HIGHLY SENSITIVE      BEGINBATES         ENDBATES      PAGECOUNT                                   DESCRIPTION
Fitzsimmons_01                                  CAP02_000009130   CAP02_000009130       1       (U) Search Warrant on 2/24/21
Fitzsimmons_01                                  CAP02_000009131   CAP02_000009131       1       (U) ‐‐‐ UNCLASSIFIED
Fitzsimmons_01                                  CAP02_000009132   CAP02_000009132       1       (U) ‐‐‐ UNCLASSIFIED
Fitzsimmons_01                                  CAP02_000009133   CAP02_000009133       1       (U) 1004.pdf
Fitzsimmons_01                                  CAP02_000009134   CAP02_000009134       1       (U) New_Evidence_Entry.xlsx
Fitzsimmons_01                                  CAP02_000009135   CAP02_000009135       1       (U) ‐‐‐UNCLA.rtf
Fitzsimmons_01                                  CAP02_000009136   CAP02_000009136       1       (U) Search Warrant on 3/24/21
